         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                     Case No. 5D2023-1153
                  LT Case No. 2022-CA-000533
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COLE LELEUX, DERIVATIVELY as
CO-MANAGING MEMBER of, and
on Behalf of, UNITED LEGION
BJJ, LLC,

    Appellant,

    v.

JOSE DAVID LOPEZ and UNITED
LEGION BRAZILIAN JIU-JITSU,
LLC,

    Appellees.
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On appeal from the Circuit Court for Seminole County.
Christopher M. Sprysenski, Judge.

Kevin C. Maxwell, Lake Mary, for Appellant, Cole Leleux.

David Robold, of Law Firm of Olde Winter Park LLC, Orlando,
for Appellee, Jose David Lopez.

Todd M. Hoepker, of Todd M. Hoepker, P.A., Orlando, for
Appellee, United Legion Brazilian Jiu-Jitsu, LLC.



                            August 20, 2024
PER CURIAM.

    AFFIRMED.

WALLIS, HARRIS, and BOATWRIGHT, JJ., concur.

                _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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